Case 2:OO-cv-03070-BBD-dkv Document 42 Filed 06/02/05 Page 1 of 2 Page|D 54

IN THE UNITED STATES DISTRICT COURT F"-ED B`*' § `
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 05 JUH "2 AH 53 37

 

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JAMES BROWDER, CLEF',§<, 1.,1.5~:. D!S'E'. CT.
W.[). QF TN, M‘EMPH!S

Plaintiff,

vs. NO. 00-3070 D/V

SHELBY COUNTY GOVERNMENT,
et al,

Dei`endants.

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

It appearing to the Court by consent Of the parties that the parties have compromised

and settled and, therefore, this lawsuit is dismissed With prejudice

IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED, that this

lawsuit is dismissed

 

 

APPROVED:

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Randall §l:g$lley, Attornéy/for Pl`aintiff

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Stet`t%% Schreiner, Attorney for `PlairitifiC

Eugehe C. Gaerig, Att(MgWefendants

Thfs document entered on the dock tshe tin compliance

with mile ss and/or 79(3) FHCP on l£ “§ 1272

 

 

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This notice confirms a copy of the document docketed as number 42 in
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Honorable Bernice Donald
US DISTRICT COURT

